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                        IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF NEW HAMPSHIRE
---------------------------------------------------------------x
                                                               :
In re:                                                         :
                                                               : Chapter 11
LRGHEALTHCARE,                                                 :
                                                               : Case No. 20-10982 (MAF)
                           Debtor.   1                         :
                                                               :
-------------------------------------------------------------- x

    NOTICE OF FILING OF DISCLOSURE PURSUANT TO LOCAL BANKRUPTCY
         RULE 6004-1 PERTAINING TO THE SALE OF SUBSTANTIALLY
                 ALL OF THE ASSETS OF LRGHEALTHCARE


       PLEASE TAKE NOTICE that on October 19, 2020, the Debtor filed its Motion For

Sale of Property under Section 363(b) For Orders (A)(I) Approving Procedures for Selling

Substantially All Property of the Debtor's Estate Free and Clear of All Interests, (II) Approving

Procedures for Assuming and Assigning Certain Executory Contracts and Unexpired Leases,

(III) Authorizing the Debtor to Enter Into the Stalking Horse Agreement, (IV) Authorizing the

Payment of the Stalking Horse Payment as Administrative Expenses, and (V) Granting Related

Relief; and (B)(I) Approving the Sale of Substantially All Property of the Debtor's Estate Free

and Clear of All Interests, (II) Approving the Assumption and Assignment of Certain Executory

Contracts and Unexpired Leases, and (III) Granting Related Relief [Dkt. No. 45] (the “Sale

Motion”)2




1
    The last four digits of the Debtor’s federal taxpayer identification number are 2150. The address of the
    Debtor’s headquarters is 80 Highland Street, Laconia, NH 03246.
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    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Cash Collateral
    Motion.

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       PLEASE TAKE FURTHER NOTICE, in connection with the Sale Motion, the Debtor

has filed the attached proposed Disclosure Pursuant to Local Bankruptcy Rule 6004-1.


Dated: October 20, 2020                           NIXON PEABODY LLP

                                                  /s/ Morgan Nighan_________________
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                                                  Proposed Counsel to the Debtor




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             DISCLOSURE PURSUANT TO LOCAL BANKRUPTCY RULE 6004-1
                   PERTAINING TO THE SALE OF SUBSTANTIALLY
                     ALL OF THE ASSETS OF LRGHEALTHCARE


        1.       Pursuant to Local Bankruptcy Rule 6004-1, the Court has determined that this

Exhibit is the functional equivalent of a disclosure statement with respect to the proposed sale of

substantially all of the assets of LRGHealthcare (the “Debtor” or “LRGHealthcare”) pursuant to

Section 363 of the Bankruptcy Code.3 Additional information concerning the Debtor, its

business and the Chapter 11 Case can be found in the Debtor’s Voluntary Petition, Statement of

Financial Affairs, Schedules, and Declaration of Kevin W. Donovan in Support of the First Day

Motions, which were executed under oath and are available to the public. All pleadings are

available to the public, at no charge, as the Debtor’s Noticing Agent’s website at:

https://dm.epiq11.com/lrghealthcare.

        2.       This Disclosure contains information about the Debtor and the Sale, which is

intended to provide creditors with adequate information to an informed decision when deciding

whether to support or object to the Sale Motion or choose not to take any position. Your rights

may be affected. You should read this Disclosure and the Sale Motion carefully and discuss

them with your attorney. If you do not have an attorney, you may wish to consult one. If

approved, the Sale Motion will be binding on all creditors, counterparties to Assumed Contracts

and other parties in interest.


        3
            `All capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the
Debtor’s Motion for Orders (A)(I) Approving Procedures for Selling Substantially All Property of the Debtor’s
Estate Free and Clear of All Interests, (II) Approving Procedures for Assuming and Assigning Certain Executory
Contracts and Unexpired Leases, (III) Authorizing the Debtor to Enter Into the Stalking Horse Agreement, (IV)
Authorizing the Payment of the Stalking Horse Payment as Administrative Expenses, and (V) Granting Related
Relief; and (B)(I) Approving the Sale of Substantially All Property of the Debtor’s Estate Free and Clear of All
Interests, (II) Approving the Assumption and Assignment of Certain Executory Contracts and Unexpired Leases,
and (III) Granting Related Relief (the “Sale Motion”) which is fully incorporated herein by reference.

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       3.      Except as otherwise disclosed herein, this Disclosure is based on the information

available to the Debtor of the Petition Date. The Debtor believe that based on its circumstances,

assets, and future income described below, the Sale Motion is in the best interest of all Creditors,

and the Debtor recommends that creditors support the Sale Motion.

                                                 I.

                                        BACKGROUND

                           FOUNDATION OF LRGHEALTHCARE

       4.      LRGHealthcare is a not-for-profit healthcare charitable trust operating Lakes

Region General Hospital (“LRGH”), Franklin Regional Hospital (“FRH”), and numerous other

affiliated medical practices and service programs. LRGH is a community based acute care

facility with a licensed bed capacity of 137 beds, and FRH is a 25-bed critical access hospital

with an additional 10-bed inpatient psychiatric unit. In 2002, Lakes Region Hospital Association

and Franklin Regional Hospital Association merged, with the merged entity renamed

LRGHealthcare.

       5.      The Lakes Region communities served by LRGHealthcare include Laconia,

Gilford, Alton, Ashland, Barnstead, Belmont, Center Harbor, Gilmanton, Meredith,

Moultonborough, New Hampton and Sandwich. In the Three Rivers Region, LRGHealthcare

serves the communities of Franklin, Tilton, Northfield, Sanbornton, Alexandria, Andover,

Bristol, Bridgewater, Boscawen, Danbury, Hebron, Hill and Salisbury.

       6.      LRGHealthcare offers a wide range of medical, surgical, specialty, diagnostic,

and therapeutic services, wellness education, support groups, and other community outreach

services. Emergency Services are available twenty-four hours a day at FRH and LRGH, and the

emergency department is staffed with specially trained physicians, nurses and allied staff,



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supported by various diagnostics. The Debtor is also equipped to provide ground and air transfer

to tertiary care facilities.

        7.       LRGHealthcare employs approximately 1,401 full and part-time employees. In

2019, LRGHealthcare serviced approximately 3,917 inpatient admissions, 33,803 emergency

room visits, and approximately 260,000 outpatient visits. The organization has up to 172

licensed beds and the capability to serve patients with various physical and mental health issues.

In 2019, LRGHealthcare had net patient revenues of almost $206 million and an operating loss

of approximately $20 million.

                                   THE DEBTOR’S BUSINESS

        8.       From primary care and surgical services to oncology care, LRGHealthcare

provides the latest healing techniques and technology delivered by very caring and

compassionate staff.




A.      EMERGENCY SERVICES

        9.       Both emergency departments of FRH and LRGH ensure that patients’ emergent

needs will be met with professional and compassionate care. Both departments are home to

specially trained physicians, nurses, and staff who make emergency medicine their priority. With

state of the art diagnostic equipment, twenty-four hour, fully-equipped facilities, and transfer

capability of patients via ground or air to tertiary care facilities if needed, the departments are

ready for all emergent needs.

        10.      FRH provides emergency services to the “Three Rivers Regions,” which includes

Franklin, Tilton, Northfield, Sanbornton, Alexandria, Andover, Bristol, Bridgewater, Boscawen,

Danbury, Hebron, Hill and Salisbury.
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        11.     LRGH provides emergency services to the “Lakes Region,” which includes

Laconia, Gilford, Alton, Ashland, Barnstead, Belmont, Center Harbor, Gilmanton, Meredith,

Moultonborough, New Hampton and Sandwich.

        12.     All patients presenting to an emergency department are assessed and triaged by a

registered nurse (“RN”) and seen by an Emergency Medicine provider. Patient care is provided

using an interdisciplinary team in collaboration with Emergency Medical Services, emergency

department staff, other departments within the hospital, and private physicians. Emergency

nurses maintain certifications in Basic Life Support (“BLS”), Advanced Cardiac Life Support

(“ACLS”), Trauma Nursing (“TNCC”), and Pediatric Advanced Life Support (“PALS”). Each

of the emergency departments and trauma centers have individual patient rooms with

isolation/negative pressure rooms and trauma bays. A comprehensive renovation of the

emergency room at LRGH was undertaken in 2018 and 2019, at a total cost of approximately $7

Million, providing a state of the art, best practice facility, fully funded by private donations.

B.      CRITICAL CARE

        13.     Patients who need continuous monitoring and observation are admitted to the

Intensive Care Unit (“ICU”) at LRGH, or will be transported to another available ICU. The ICU

at LRGH is a 20 bed unit, with beds reserved for inpatient dialysis, surgical recovery and other

critical care patients.

        14.     At FRH critically ill or injured patients are cared for by the Debtor’s emergency

care team until they are stable enough to be transferred to an available ICU.

C.      MENTAL HEALTH SERVICES

        15.     FRH also has a Designated Receiving Facility (“DRF”), a twenty-four-hour

inpatient mental health unit. Admissions come from emergency departments all over the state of



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New Hampshire. Patients may be admitted for a voluntary or involuntary examination if there is

reason to believe that he/she is mentally ill, they are a serious danger to his/her self or others, or

they are likely to suffer from neglect or harm if the current behavior continues. LRGH offers

twenty-four hour emergency psychiatric care through a round-the-clock call system with Lakes

Region Mental Health Center providers.

       16.     The LRGHealthcare Recovery Clinic (the “Recovery Clinic”) provides substance

use disorder services at both FRH and LRGH. The Recovery Clinic works in concert with the

“Doorway” at LRGH, which is one of the nine “Doorways” in the State of New Hampshire. The

Doorway program is one that is changing how New Hampshire helps people with an opioid use

disorder (“OUD”) or other substance use disorders (“SUD”). The Doorways provide single

points of entry for people seeking help for substance use, whether they need treatment, support,

or resources for prevention and awareness. The regional Doorways ensure that help is always

less than an hour away. New Hampshire’s Doorway program receives funding from the U.S.

Substance Abuse and Mental Health Administration - State Opioid Response (“SOR”) grant.

This federal support is enabling New Hampshire to expand medication-assisted treatment

(“MAT”), peer recovery services, access to recovery housing, evidence-based prevention

programs, workforce opportunities and training and education.

D.     MEDICAL/SURGICAL UNITS

       17.     FRH contains two distinct nursing units: the DRF and 2 South. 2 South can

accommodate up to twenty-five medical inpatients. On any given day, there are approximately

sixteen patients receiving coordinated, compassionate, individualized care at 2 South. These

patients fit into a general medical or skilled nursing level of care. All services are provided in a




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customer friendly atmosphere which provides both patients and families the support they need.

The unit functions on a twenty-four hour per day basis.

       18.     LRGH contains six distinct nursing units: the ICU, East 1, North 2, North 4,

South 3, and Senior Psychiatric Services (“SPS”).

       19.     East 1 is a twenty bed unit with private rooms and a centralized nursing station.

The major focus of this unit is providing quality comprehensive care to acutely ill patients with

surgical and medical problems.

       20.     North 2 is a fourteen bed unit with private rooms and a centralized nursing

station. The major focus of this unit is providing quality comprehensive care to acutely ill

patients with medical problems.

       21.     North 4 is a fifteen bed unit with private rooms and a centralized nursing station.

The major focus of this unit is providing quality comprehensive care to acutely ill patients with

medical and surgical problems.

       22.     South 3 is a ten bed unit with private rooms and a centralized nursing station. The

major focus of this unit is providing quality comprehensive care to acutely ill patients with

orthopedic problems.

       23.     SPS is an eight bed unit with private rooms and a centralized nursing station. The

major focus of this unit is providing quality comprehensive care to geriatric psychiatry patients

with various diagnoses including Alzheimer’s and dementia.

D.     CANCER CENTER AND ONCOLOGY PROGRAM

       24.     The Anderson Ganong Cancer Center (“AGCC”) located in Laconia, NH provides

exceptional care with a personal touch; a place to call home that’s close to home; and a family of




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compassionate, dedicated individuals who are passionate about caring for and supporting patients

during a challenging time of life.

       25.     LRGHealthcare offers, among other things, services from top oncologists from

New Hampshire Oncology–Hematology, PA, chemotherapy, blood-related disorder treatments,

medical imaging, surgical services, an on-site pharmacist, and wound care.

E.     OUTPATIENT CLINICS AND PROVIDER PRACTICES

       26.     LRGHealthcare offers a number of outpatient clinics and provider practice sites to

the communities served. The practice sites in multiple communities offer primary care, women’s

health, pediatrics, medical specialty, surgical specialty, orthopedics, sleep medicine and other

outpatient services. LRGHealthcare is the primary provider of health services such as these in

the local community, which otherwise would not have such access within a 45 minute drive.

F.     QUALITY

       27.     LRGHealthcare’s dedication to excellence has resulted in recognition as an ISO

9001 Quality Management System Certified organization. This certification reflects

LRGHealthcare’s long-term commitment to quality, safety, and patient satisfaction. This

achievement was no small feat as the journey to ISO 9001 Certification began in 2015 and

culminated in 2018. With this certification, LRGH and FRH are part of an elite group of

hospitals nationwide that have achieved ISO 9001 status. The certification is valid for three

years and is provided by DNV GL – Business Assurance, part of the DNV GL Group, a world-

leading certification body known for its safety and efficiency standards. To achieve certification,

in addition to accreditation, an organization must develop a series of systematic, standardized

processes which are constantly reviewed and revised to assure a high level of quality and safety.




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                                               II.

                         THE DEBTOR’S CAPITAL STRUCTURE

A.     2009 BOND TRANSACTION FHA INSURED MORTGAGE REVENUE BONDS

       31.    On December 9, 2009, LRGHealthcare refinanced its then outstanding Series

2006 Bonds in the amount of $37,110,000 and its then outstanding Series 2008 Bonds in the

amount of $34,405,000, and borrowed additional amounts for capital projects, through the

issuance of $143,520,000 in fixed rate Federal Housing and Urban Development Insured

Mortgage Revenue Bonds with an average rate of 5.52%. The Series 2009 Bonds were issued

pursuant to the New Hampshire Health and Education Facilities Authority Act, Chapter 195-D of

the New Hampshire Revised Statutes Annotated, as amended (the “Act”), and the Bond

Resolution of the New Hampshire Health and Education Facilities Authority (the “Authority”)

and a Bond Trust Indenture, dated October 1, 2009, by and between the Authority and The Bank

of New York Mellon Trust Company, N.A., as trustee (the “Bond Trustee”). The proceeds of

the Series 2009 Bonds were loaned by the Authority to LRGHealthcare pursuant to a Loan

Agreement, dated as of October 1, 2009, by and between the Authority and LRGHealthcare. The

obligations of LRGHealthcare were evidenced by a Mortgage Note, dated as of December 9,

2009 (the “Mortgage Note”) from the Debtor to the Bond Trustee. The Department of Housing

and Urban Development (“HUD”), acting by and through the Federal Housing Commissioner

(“FHA”), insured the advancement of funds pursuant to Section 242 of Title II of the National

Housing Act, as amended. As part of this transaction LRGHealthcare entered into a FHA

Regulatory Agreement with the Bond Trustee and certain other documents delivered to FHA and

the Bond Trustee, as beneficiary (the “Regulatory Agreement”). Additionally, as part of this

transaction LRGHealthcare entered into a Security Agreement with the Bond Trustee and HUD



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dated as of December 9, 2009 (the “Security Agreement”) granting a security interest in all assets

but excepting and excluding therefrom all current or future (collectively the “Excluded Assets”):

               a.     donations specifically restricted by donors, (but only so long as they
                      remain restricted by the donors);

               b.     various pieces of leased or financed equipment;

               c.     any equipment to be acquired by LRGHealthcare subject to purchase
                      money security interests; and

               d.     certain excluded real property (identified herein as the Unencumbered
                      Additional Real Property).


       32.     The proceeds of the Mortgage Note were used to refinance the prior mortgage

debt and to fund approximately $51 million of new capital improvements to LRG and FRH. In

2012, following completion of construction of the Debtor’s new improvements and the

completion of HUD’s cost certification, the final closing of the Mortgage Loan occurred. At that

time a Second Allonge to the Mortgage Note was entered primarily to reflect the reduced amount

of the Mortgage Loan to reflect payments made prior to that date, and, then, a Third Allonge to

the Mortgage Note was entered to correct arithmetical errors in the Second Allonge.

       33.     In September 2015, in order to reduce the interest rate on the Mortgage Note and

to reduce the monthly amortization payments, LRGHealthcare agreed to a defeasance of the

Series 2009 Bonds through the refinancing of the Mortgage Note. The defeasance of the Series

2009 Bonds was initiated at this time by the deposit of sufficient funds to provide for payment in

full of the Series 2009 Bonds in 2019 (the first date such bonds could be voluntarily repaid) into

a refunding escrow deposit account established pursuant to that certain Refunding Escrow

Deposit Agreement dated as of September 30, 2015 by and between the Authority, the Bond

Trustee and LRGHealthcare (the “Refunding Escrow Deposit Agreement”). Pursuant to the



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Refunding Escrow Deposit Agreement, $159,275,353.04 was deposited into the refunding

escrow deposit account, comprised of (i) funds in the amount of $17,189,515.69 previously held

by the Bond Trustee under the Bond Indenture, and (ii) funds in the amount of $142,085,837.35,

comprised of $125,871,960.19 in proceeds from the Pre-Petition Lender, $629,359.80 in

proceeds from a good faith deposit by the Debtor to the Pre-Petition Lender, plus $15,584,517.36

in proceeds from the Debtor. As part of this transaction, the Mortgage Note and the Security

Agreements were assigned to the Pre-Petition Lender. The purpose of this transaction was to

reduce the then-existing debt service payments. The proceeds of the Pre-Petition Lender’s loan

were deposited into an escrow account established by the Refunding Escrow Deposit Agreement

and used to service the existing Series 2009 Bond obligations and to redeem the Series 2009

Bonds in October of 2019.

B.     CONDO MORTGAGE

       28.    On or about February 21, 2019, LRGHealthcare purchased a certain condo unit

from a physicians’ practice for $475,000.77 according to a long standing legal agreement which

set the purchase price. LRGHealthcare paid $238,000.77 to the seller at closing and provided a

note to OB-GYN Realty Company, LLC which is secured by the condo unit that matures on

February 21, 2021. The current balance of the mortgage is approximately $51,500.00. The

condo is currently used to support some of the Debtors’ back office functions and does not

generate any revenue.

C.     PURCHASE MONEY SECURITY INTERESTS

       29.    Several of the Debtor’s vendors may assert various liens on certain of the

Debtor’s assets and inventory. The Debtor estimates that these vendors may assert secured

claims of approximately $1.5 million in the aggregate.



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D.     STATE OF NEW HAMPSHIRE LOAN

       30.     On or about March 13, 2020, Governor Christopher T. Sununu declared a State of

Emergency as a result of the COVID-19 pandemic. Pursuant to Section 18 of the emergency

declaration, the Governor issued Emergency Order #9 on March 19, 2020, creating the COVID-

19 Emergency Healthcare Relief Fund (the “Relief Fund”) and authorizing the New Hampshire

Department of Health and Human Services (the “NHDHHS”) to develop application and

evaluation criteria and to distribute relief from the Relief Fund.

       31.     LRGHealthcare applied for relief from the Relief Fund which was approved by

the DHHS. As a result, on or about April 8, 2020, LRGHealthcare and NHDHHS entered into

that certain Loan Agreement and Note (the “Relief Loan”) in the principal amount of

$5,250,000.00. The Relief Loan matures 180 days after the expiration of the State of Emergency

and is unsecured. At the NHDHHS’s discretion, and with the approval of the Governor, the

Relief Loan may be converted to a grant and forgiven, contingent upon (a) the use of the Relief

Loan for the purposes set forth in the Debtor’s application, (b) verification of the need for a

grant, (c) ineligibility of the Debtor to borrow or otherwise receive funds from other public

sources and (d) continued financial hardship.

E.     CARES ACT FUNDING

       32.     On or about March 27, 2020, President Trump signed the Coronavirus Aid,

Relief, and Economic Security (“CARES”) Act. Among other things the CARES act provided

more than $100 billion for hospitals and healthcare providers and $27 billion in funds for

vaccines, therapeutics, and personal protective equipment (the “CARES Relief Fund”). These

funds were administered by the U.S. Department of Health & Human Services (“USDHHS”).

Funds received from the CARES Relief Fund were earmarked to only be used to prevent, prepare



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for, and respond to COVID-19, and shall reimburse the Recipient only for health care related

expenses or lost revenues that are attributable to COVID-19. In the months of April and May

2020, the Debtor received multiple payments totaling approximately $15 million from the

CARES Relief Fund. Although such funds are technically a grant, the USDHHS reserves the

right to assert claims for such amounts in the event a borrower fails to properly validate the use

of the funds in accordance with the CARES Act.

                                                III.


                      EVENTS LEADING TO THE CHAPTER 11 CASE

             a. Legislative, Regulatory and Contractual Matters Affecting Revenue

       33.      The Debtor has experienced a tumultuous five to ten years, all beginning with

decisions by prior management to make significant investments in inpatient services and

facilities at a time when patient demographics and medical trends indicated more reliance on

outpatient services and decreased hospital use. Soon thereafter, the Debtor found itself caught in

a downward spiral of increasing costs, decreasing reimbursement, shrinking service lines and

volume “leakage” to other communities. A primary driver of cost growth was the

implementation of a massively expensive electronic medical record system which ultimately

consumed approximately nine percent of total organizational revenue annually (two to three

times the industry average).

       34.      With increasing stress on finances and direction from its lender (KeyBank) and

mortgage note insurer (HUD), LRGHealthcare under took a series of turnaround efforts to

decrease costs. Prism Healthcare Partners, Kaufman Hall and Quorum Health Resources, all

large, nationally recognized health care consulting firms, were engaged to cut costs and improve

the bottom-line, all of which resulted in reductions in the scope of services and level of care


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available at the Debtor. Costs were greatly decreased, full-time-equivalent (FTE) employees

were cut dramatically, benefits were reduced, contracts severed and physician and provider

groups negatively impacted. Despite cutting 21% of its workforce since 2016 and closing

multiple service lines (obstetrics at LRGH, surgical services at FRH, vascular surgery and

others), the organization found, as many healthcare organizations do, the extensive cost cuts did

not result in profitability or sustainability.

        35.     Ultimately, the LRGHealthcare’s Board of Trustees and Leadership sought a

partner to bring stability to the organization, grow service lines to assist with revenue growth,

and further decrease overhead costs. In June 2018, LRGHealthcare engaged Kaufman Hall to

provide advisory services and lead an exhaustive sales process. The LRGHealthcare’s Board of

Trustees determined the interests of LRGHealthcare and fulfillment of its community- and

patient-focused mission would be best realized through integration into a larger health system in

order to ensure both operational and financial sustainability in the near- and long-term. To

accomplish this directive, the board established an Affiliation Subcommittee to direct the

strategic partnership solicitation process.

        36.     These efforts led LRGHealthcare to reach out to 43 potential partners and which

resulted in five non-binding indications of interest in 2018. Due diligence led one partner to

rescind its offer in October 2018 and a second withdrew from the process shortly thereafter. A

third informed LRGHealthcare it was no longer interested in March 2019. After due diligence,

the most viable initial offer was significantly reduced and was reliant on Debtor’s lenders

agreeing to accept below par payments on the outstanding mortgage and other liabilities.

Unfortunately, the Debtor’s lenders rejected the concept of a below-par offer when approached.

The 10-month strategic partnership solicitation process, in which a comprehensive list of



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potentially buyers was exhausted, ultimately concluded without an interested bidder, leaving the

Debtor in a financially and operationally unsustainable position.

       37.      Despite those obstacles, the Debtor continued to seek a potential partner after that

process. Eventually, Debtor entered into a proposed purchase agreement with Concord Hospital

to purchase substantially all of the Debtor’s assets.

       38.     The majority of bidders approached cited LRGHealthcare’s large debt-load as the

rate-limiting issue when it came time to place a bid or move forward in the process. Despite

those obstacles and after further marketing and solicitation efforts, LRGHealthcare eventually

entered into a proposed purchase agreement with Concord Hospital to purchase substantially all

of the Debtor’s assets.

       39.     Due to the COVID-19 pandemic, however, the Debtor was forced to cease all

elective, non-emergent work, decreasing organizational revenues within a matter of weeks by

60% or more. With less than three days’ cash on hand when the pandemic hit, the Debtor had to

identify and receive financial support within weeks or close its doors permanently.

       40.     To address the situation, salaries of the leadership team were reduced by 20% for

a period of time and the leadership team was reduced from seven members to six members,

representing a further reduction from the initial ten-member leadership team at the time that the

Debtor engaged its current CEO.

       41.     With the aid received from the Relief Fund and CARES Relief Fund and with a

massive furlough and closure of programs and services on April 10, 2020, the Debtor managed

to keep the doors open. Without further relief, closure was otherwise imminent. Today, the

Debtor is still operating at approximately 80 percent of pre-pandemic revenue, forcing




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management to keep certain services closed and approximately 38 percent of the pre-pandemic

workforce on furlough or reduced workhours.

                                               IV.

                                   THE PROPOSED SALE

       42.    The Debtor seeks to complete a sale (the "Sale") of substantially all of its assets

pursuant to the terms of an agreement (the "Stalking Horse Agreement") by and between the

Debtors and Concord Hospital and certain subsidiaries of Concord Hospital (the “Buyers”), a

copy of which is attached to the Sale Motion as Exhibit C. The following description of the

Stalking Horse Agreement is intended solely to provide a brief overview thereof and to highlight

material terms and provisions. Interested parties should refer to the Stalking Horse Agreement to

review the complete terms thereof. In the event of any inconsistencies between this summary and

Stalking Horse Agreement, the Stalking Horse Agreement itself shall govern.

              a.      Purchase Price: The purchase price of the Acquired Assets shall be Thirty
                      Million Dollars ($30,000,000.00), subject to the terms, conditions, and
                      adjustments stated in the Stalking Horse Agreement (the "Purchase
                      Price"). The Purchase Price shall consist of: (i) the Deposit; plus (ii) an
                      amount required to conduct the orderly wind-down or dismissal of the
                      Bankruptcy Case after the Closing, not to exceed five hundred thousand
                      dollars ($500,000.00) (or as otherwise approved by the Stalking Horse in
                      its sole discretion); plus (iii) the Hired Employee PTO, plus (iv) an
                      amount (the "Cash Purchase Price") equal to the total Purchase Price
                      minus items (i)-(iii).
              b.      Adjustments to Purchase Price. The amount of the purchase price is
                      subject to certain adjustments including an adjustment that will result in an
                      (i) increase by the amount, if any, that eighty percent (80%) of the net
                      book value of the accounts receivable exceeds Fifteen Million Dollars
                      ($15,000,000); or (ii) decrease by the amount, if any, that Fifteen Million
                      Dollars ($15,000,000) exceeds eighty percent (80%) of the net book value
                      of the accounts receivable.

              c.      Outside Closing Date: On or before March 31, 2021 or such later date as
                      the Buyers shall have established by written notice to the Debtor.

              d.      Acquired Assets: Include, without limitation, the following:

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                  i.   all Accounts Receivable as of the Closing Date, including all of the
                       accounts receivable and collections with respect to the Debtor’s
                       Medicare Straddle Patients (the “Medicare Straddle Patient Accounts
                       Receivable”) and all of the accounts receivable and collections with
                       respect to the Debtor’s Non-Medicare Straddle Patients (the “Non-
                       Medicare Straddle Patient Accounts Receivable”);

                 ii.   the Real Property described on Schedule 2.1(a) of the Stalking Horse
                       Agreement;

                iii.   all equipment located at the Hospitals, including that listed in
                       Schedule 2.1(c) of the Stalking Horse Agreement;

                iv.    all janitorial, maintenance, shop, office and other supplies, drugs, and
                       food and other disposables owned by the Debtor as of the Closing Date
                       (“Inventory”);

                 v.    the Debtor’s interests in the Assumed Contracts;

                vi.    licenses, permits, registrations, and other approvals or authorizations
                       (including pending approvals or authorizations) of Governmental
                       Authorities, to the extent assignable, relating to the ownership and
                       operation of the Hospitals, but limited to those licenses, permits,
                       registrations, and other approvals or authorizations listed in
                       Schedule 2.1(f) to the Stalking Horse Agreement;

               vii.    all Intellectual Properties used in connection with the ownership and
                       operation of the Hospitals, and all computer software, programs, and
                       similar systems licensed for use in conjunction with the operation of
                       the Hospitals, including those described in Schedule 2.1(g) to the
                       Stalking Horse Agreement, to the extent assignable;

               viii.   all original patient records located at, in the custody of, or
                       electronically maintained by either Hospital which, as of the Closing
                       Date, the Debtor is required by applicable law to retain (the “Included
                       Patient Records”) and personnel records for Hired Employees, and all
                       policies and procedures manuals and quality assurance records of the
                       Debtor to the extent relating to either Hospital;

                ix.    all other books, records, files, papers, and other documents (in
                       whatever form, including computer files and software), including all
                       inventory; sales and marketing records; patient, customer, and supplier
                       lists, and literature to the extent relating to either Hospital;

                 x.    all restricted endowment or other funds and other restricted assets
                       received by the Debtor from donors (“Restricted Funds”);


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                     xi.    all deposits, prepaid expenses, and claims for refunds, advances,
                            prepaid lease expenses, and security deposits arising under or related
                            to the Assumed Contracts, and rights to offset in respect thereof, other
                            than the deposits and prepaid expenses listed in Schedule 2.1(k) of the
                            Stalking Horse Agreement (the “Excluded Deposits/Prepaids”);

                    xii.    those Employee Benefit Plans listed in Schedule 2.1(l) of the Stalking
                            Horse Agreement (“Assumed Employee Benefit Plans”);

                    xiii.   any gift, devise, or bequest under any will, trust agreement, or other
                            instrument of transfer (“Instrument”) paid, payable, or to become
                            payable to the Debtor or any of its Affiliates before, on, or after the
                            Closing Date (including, but not limited to, gifts to be made upon the
                            occurrence of a future event that has not yet occurred and does not
                            occur before the Closing Date), (i) whether such Instrument came into
                            existence before, on, or after the Closing Date; and (iii) whether such
                            Instrument was revocable or irrevocable before, on, or after the
                            Closing Date;

                    xiv.    all insurance claims and proceeds thereof arising in connection with
                            property damage to the Acquired Assets occurring before the Closing
                            Date except to the extent, in the case of proceeds, received by the
                            Debtor before the Closing Date and expended on the repair or
                            restoration of the Acquired Assets before the Closing Date; and

                     xv.    general intangibles pertaining to the Hospitals, including goodwill.

        Notwithstanding the foregoing, the Stalking Horse shall have the right, upon two (2) days’
written notice given to the Debtor before Closing, to exclude any or all of the Acquired Assets
listed above, deeming such assets to be Excluded Assets.

               e.       Assumed Liabilities: Effective upon Closing, (a) obligations of the Debtor
                        arising on or after the Closing Date under the Assumed Contracts shall be
                        assumed by the Buyer that is the assignee of such Assumed Contract (and
                        no other Buyer); (b) the Assumed Employee Benefit Plans shall be
                        assumed by the Stalking Horse (and no other Buyer); (c) vacation,
                        holiday, and sick leave accumulations of the Hired Employees, but only to
                        the extent listed in Schedule 5.5(a), of the Stalking Horse Agreement, and
                        related Taxes thereon, shall be assumed by the Buyer who becomes the
                        employer of such Hired Employee (and no other Buyer); and (d) the
                        Debtor's obligations, if any, described in Schedule 2.3 of the Stalking
                        Horse Agreement shall be assumed by the Stalking Horse (and no other
                        Buyer). The foregoing are collectively referred to as the "Assumed
                        Liabilities"). The value reflected by adding the Purchase Price with the
                        Assumed Liabilities is referred to herein as the "Total Transaction Value".




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               f.          Excluded Assets: The following are not a part of the Sale by Stalking
                           Horse Agreement and are excluded from the Acquired Assets:

                    i.         all cash and Excluded Deposits/Prepaids;

                    ii.        Inventory disposed of or exhausted after the Execution Date and
                               before the Closing Date in the ordinary course of operating the
                               Hospitals;

                    iii.       any of the Debtor’s interests in Contracts other than Assumed
                               Contracts;

                    iv.        any Employee Benefit Plans other than Assumed Employee Benefit
                               Plans;

                    v.         all right, title, and interest of the Debtor in and to all current insurance
                               policies, if any, and all insurance policies providing Tail Coverage;

                    vi.        any and all claims and causes of action arising under the Bankruptcy
                               Code other than claims and causes of action related to any Acquired
                               Asset, including Accounts Receivable;

                    vii.       all personnel records, other than personnel records relating to Hired
                               Employees, and all patient records other than Included Patient
                               Records;

                    viii.      all tradenames that are not described in Schedule 2.1(g) of the
                               Stalking Horse Agreement or are described therein but are not
                               assignable;

                    ix.        all Debtor’s Permits that are not assignable pursuant to applicable law
                               and pending applications therefore; and

                    x.         all Documents relating exclusively to an Excluded Asset.

       43.     All of the Debtor’s rights, title, and interest in the Acquired Assets shall be sold

free and clear of any liens, security interests, claims, charges, or encumbrances pursuant to

section 363 of the Bankruptcy Code. The Debtor proposes that any such liens, security interests,

claims, charges, or encumbrances shall attach to the amounts payable to the Debtor’s estate

resulting from the Sale, net of any transaction fees (the “Sale Proceeds”), in the same order of




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priority and subject to the rights, claims, defenses, and objections, if any, of all parties with

respect thereto, subject to any further order of the Court.

                                                        V.

                             PRELIMINARY RECOVERY ANALYSIS

       44.      In the event the Stalking Horse Agreement is ultimately the prevailing bid at the

auction, the Debtor anticipates the following recoveries for creditors. This summary is provided

for convenience purposes only and is subject to material modifications as the Case progresses:4




4
    This summary is provided for informational purposes only. To the extent the Debtor seeks confirmation of a
    plan of liquidation, it reserves the right to revise, modify, or amend the classification of creditors or their
    treatment.

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                                    Estimated Claims                    Total Distribution                 Estimated
           Class                    (Approximately)                     (Approximately)                    Percentage Recovery
Administrative expense claims       $3.5 – $4.0 million                 $3.5 – $4.0 million                100%
(including 503(b)(9) and
professional fee claims)5
Priority Claims including wage      $5.0 million                        $5.0 million                       100%
claims at time of closing under
Stalking Horse Agreement6
HUD / KeyBank Mortgage              $110.8 million                      $21.0 – $22.0 million              19% – 20%
Note7,9

OB-GYN Realty Company, LLC          $62,000                             $62,000                            100%
First Mortgage8
Other Secured Claims9               $1.5 million                        $1.5 million                       100%

NH COVID-19 Relief                  $5.3 million                        $0                                 0%
Loan/Grant10
PBGC –underfunded Pension           $13.0 million                       Pension liability assumed by       100%
liability11                                                             buyer
Contract cure costs including       $6.0 million                        Cure costs paid for by buyer       100%
GSIE and tail
costs12
General Unsecured Claims13          $12.0 million – $15.0 million       TBD9                               TBD9




5
     Administrative expense claims could significantly increase if the closing of the transaction is delayed.
6    Stalking Horse Agreement contemplates the assumption of all unpaid benefit-related claims (including accrued vacation
     and sick time) for employees hired by the Stalking Horse Purchaser.
7    Recovery assumes that Stalking Horse Purchaser closes at current transaction value and is subject to the terms and
     conditions of the Stalking Horse Agreement.
8    2019 two-year 4.65% mortgage note payable in the amount of $238,000 for purchase of condo property. The balance
     presented is as of August 31, 2020 and will be reduced by monthly principal and interest payments.
9    Other Secured Claims include property of the Debtor subject to Purchase Money Security Interests (“PMSIs”) and are
     estimated for purposes of this analysis.
10   Assumes that $5.3 million loan received under New Hampshire Governor Sununu’s Emergency Order No. 9 dated March
     19, 2020 for the COVID-19 Emergency System Relief Fund (“CEHSRF”) is converted to a grant under Coronavirus Relief
     Fund (“CRF”) CARES Act. If the CEHSRF loan is converted to a CRF grant prior to the close of the transaction, this class
     will not participate in any potential creditor recoveries.
11   Stalking Horse Agreement includes the assumption of the underfunded defined benefit pension liability. The amount is
     estimated and will vary based on actuarial analysis related to the value of the plan assets and projected benefit obligations.
12   Stalking Horse Agreement includes the payment at closing by Concord Hospital of (a) cure costs related to Assumed
     Contracts,, (b) amounts owed to Granite Shield Insurance Exchange (“GSIE”) on account of insurance coverage for periods
     prior to October 1, 2020, and (c) premiums for Tail Coverage . The contract cure costs are estimated and will vary based
     on the designation and assignment of contracts to the Stalking Horse Purchaser as well as the negotiation of cure costs for
     assumption.
13   The recovery of General Unsecured Claims, other than those related to HUD / KeyBank, will be significantly affected by
     the ultimate purchase price, the treatment of the unencumbered assets contemplated by the Stalking Horse Agreement, and
     the size and determination of any secured lender deficiency claim. The estimate presented includes trade claims, other
     claims not subject to priority, and claims arising out of the rejection of any executory contracts.


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       45.      The Debtor is evaluating whether or not to seek to confirm a plan of liquidation,

however, even if it does not, the treatment of claims described above would comply with 11

U.S.C. §1129.

       46.      In the Debtor’s business judgment, the Sale is better for relevant stake-holders

than a liquidation for several reasons. The Debtor is proposing a going concern sale to the

Stalking Horse, subject to higher and better offers, that the Debtor believes will result in a sale of

substantially all its assets for fair market value. Such a sale will not only benefit the pre-petition

secured creditors, but also (1) patients in underserved communities, (2) priority wage claimants,

who will not lose any accrued payroll benefits, (3) present vendors and executory contract

counter-partier who will have continued business with the buyer, (4) the approximately 1,400

employees, the majority of whom will likely be rehired by the purchaser and will continue to

have high-paying and rewarding jobs, and (5) the administrative claim holders, who will be paid

in full. In the absence of a sale, the Debtor would be forced to pursue a closure plan which would

result in a loss of all the aforementioned benefits, as well as a smaller (if not no) recovery for

KeyBank. This would be highly traumatic to the residents and the community; jobs would be

lost, wages would likely remain unpaid and post-petition creditors would receive nothing on

account of their administrative claims. The Debtor believes there are no good alternatives to the

sale described above. No parties are receiving releases under the Sale.




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